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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

 BRANDON CALLIER                                 §
                                                 §
                Plaintiff,                       §
 v.                                              §
                                                 §
 MCCARTHY LAW, PLC, KEVIN                        §
 MCCARTHY, GOT LEADS 365, LLC,                   §          EP-21-CV-00015-DCG
 IRSHAD HASAN, SMARTLEADS                        §
 MEDIA, LLC, and MICHAEL                         §
 GIANETTI                                        §
                                                 §
                Defendants.                      §

                                 ORDER DISMISSING CASE

       Before the Court is Plaintiff Brandon Callier's "Motion to Dismiss with Prejudice" (ECF

No. 45), filed pursuant to Fede~al Rule of Civil Procedure 4l(a)(l)(A)(i). In view thereof, the

Court enters the following orders:

       IT IS ORDERED that all claims asserted by Plaintiff Brandon Callier in this action

against Defendants Got Leads 365, LLC, Irshad Hasan, Smartleads Media, LLC, and Michael

Gianetti are DISMISSED WITH PREJUDICE.

       IT IS FURTHER ORDERED that the District Clerk shall CLOSE this case ..

       So ORDERED and SIGNED this Z/~ay of January 2022.




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